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FOR THE WESTERN D]STR_ICT OF TENNESSEE

 

EASTERN DIVISION
UNITED STATES OF AMERlCA, )
Plaintiff, §
v § No. O4cr10050-
BILLY WAYNE MOORE, §
Defendant. §

 

UNITED STATES’ MOTION TO CONTINUE SETT G DATE

 

 
   
    
   
  
   

COMES NOW, the United States ofAinerica, by and t ough Terrell L. Harris, United States
Attorney, and J ames W. Powell, Assistant United St es Attorney for the Western District of
Tennessee, and moves this Honorable Court as fo

The defendant, Billy Wayne l\/loore, r resented by Mr. J eff Mueller, has been re-scheduled
for a trial date on chnesday, August 3 2005. Counsel for the government has a conflict With that
trial date, as on the same date the nited States Attorney Oft`lce is conducting a day-long office-wide

function which includes a iual continuing legal education training

Movant has `scussed the filing of this motion With Mr. Mueller, counsel for the defendant,

who has expre ed his assent to this motion, provided that the resetting of the trial date is not sooner
than curre ly set. Also, Mr. Mueller informed government counsel that he has not yet received the

request d transcripts that Were a part of his motion to continue filed on July 28 2005.

    

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D` " Tl-§:§§:ORE for the grounds set forth above, the government respectfully requests that the
t z: 1223 M
Ytlefefidantsh; __` §§u led trail date be reset to a later date. OTlON G RANTED
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DATE- [0 Q_L¢?_¢¢_J'M§

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5 :_:)x zL §§ Thls document entered on the docket et ln compuaM b
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U,S. D:'strrct Judge \>\q

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Respectfully submitted,

TERRELL L. HARRlS
United States Attorney

 

_J'AMES W POWELL
Assistant United States Attorney
109 South Highland Avenue, Suite 300
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(731) 422-6220
Tennessee Bar No. 961-4

 

CERTIFICATE OF SERVICE
l, lames W. Po\vell, Assistant United States Attorney for the Western District ofTennessee,
hereby certify that a copy ofthe foregoing has been delivered to Mr. Jeff Mueller, Counsel for the

defendant, at his business address at 1289 N-orth Highland Avenue, Jackson, Tennessee

§ j
/\U; 751/far trw
/ JamesW. Powell \_/
`\`__.,» Assistant United States Attomey

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 1:04-CR-10050 Was distributed by faX, mail, or direct printing on
August 1], 2005 to the parties listed.

 

 

J eff Mueller

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J ames W. PoWell

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Honorable J ames Todd
US DISTRICT COURT

